           Case 2:22-mj-03328-DUTY Document 9 Filed 08/23/22 Page 1 of 4 Page ID #:29
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 4                                                          CLERK, U.S. DISTRICT COURT

 5                                                                 AUG 23 ~
 6
                                                           CENTRAL DISTRICT" Or r~P
                                                                                  ~'~-' ~~'
 7                                                         BY_~ ~_.____._


 8
                    IN THE UNITED STATES DISTRICT COURT
 9
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
12                                            Case No. 22-MJ-3328
       UNITED STATES OF AMERICA,
13                                            ORDER OF DETENTION
                         Plaintiff,
14
                    v.
15
       RUSSELL DWAYNE LEWIS,
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                         Defendant.
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       Case 2:22-mj-03328-DUTY Document 9 Filed 08/23/22 Page 2 of 4 Page ID #:30



 1                                            I.

 2         On August 23, 2022, Defendant made his initial appearance in this district —

 3   by consent to video teleconference - on the criminal complaint filed in the

 4   Southern District of New York.' Deputy Federal Public Defender Nadine Hettle

 5   was appointed to represent Defendant.          The government was represented by

 6   Assistant United States Attorney Sarah Lee. A detention hearing was held.

 7
 8         ❑      On motion of the Government [18 U.S.C. § 31420(1)] in a case

 9   allegedly involving a narcotics or controlled substance offense with maximum

10   sentence often or more years.

11         ~      On motion by the Government or on the Court's own motion

12   [18 U.S.C. § 31420(2)] in a case allegedly involving a serious risk that the

13   defendant will flee.

14         The Court concludes that the Government is not entitled to a rebuttable

15   presumption that no condition or combination of conditions will reasonably assure

16   the defendant's appearance as required and the safety or any person or the

17   community [18 U.S.C. § 3142(e)(2)].

18                                           II.

19         The Court finds that no condition or combination of conditions will

20   reasonably assure: ~ the appearance ofthe defendant as required.

21                      ~ the safety of any person or the community.

22                                           III.

23         The Court has considered:(a) the nature and circumstances of the offenses)

24   charged, including whether the offense is a crime of violence, a Federal crime of

25   terrorism, or involves a minor victim or a controlled substance, firearm, explosive,

26   or destructive device; (b) the weight of evidence against the defendant; (c) the

27
          'The Court granted the government's request to unseal the complaint.
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       Case 2:22-mj-03328-DUTY Document 9 Filed 08/23/22 Page 3 of 4 Page ID #:31



 1   history and characteristics of the defendant; and (d) the nature and seriousness of
 2   the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also
 3   considered all the evidence adduced at the hearing including the arguments of
 4   counsel, and the report and recommendation of the U.S. Pretrial Services Agency.
 5                                           IV.
 6         The Court bases its conclusions on the following:
 ~         As to risk of non-appearance:
 g         ~     Repeated and lonstanding use of various aliases
 9         ~     Use of names, and identifying information belonging to others to

10   obtain credit cards, a U.S. Passport, and a Mexican identification card

11         ~     Background information is partially verified

12         ~     Insufficient bail resources and lack of information regarding viability

13   of proposed surety

14         ~     lack of condor regarding address at the time of arrest —Defendant

15   provided an address in Texas but informed Pretrial Services that he was living in

16   Beverly Hills and had been living in the Los Angeles area since 2008.

17
1g         As to danger to the community:

19         ~     Allegations in the criminal complaint include obtaining funds from
20   individual victims through fraudulent and false representations. According to the

21   complaint, defendant obtained more than $3.5 million from victims through his

22   fraudulent scheme.

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24
25                                            V.
26         IT IS THEREFORE ORDERED that the defendant be detained until trial
27   and be transported to the United States District Court for the Southern District of
28   New York for further proceedings The Court directed both government counsel

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           Case 2:22-mj-03328-DUTY Document 9 Filed 08/23/22 Page 4 of 4 Page ID #:32
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 1    and defendant's counsel to follow un with government counsel in the char~in

 2    district re~ardin~ Defendant's transuortation to, and arrival in, the char~in~ district

 3    for his next appearance.

 4            The defendant will be committed to the custody of the Attorney General for

 5    confinement in a corrections facility separate, to the extent practicable, from

 6    persons awaiting or serving sentences or being held in custody pending appeal.

 7    The defendant will be afforded reasonable opportunity for private consultation

 8    with counsel. On order of a Court of the United States or on request of any

 9    attorney for the Government, the person in charge of the corrections facility in

10    which defendant is confined will deliver the defendant to a United States Marshal

11    for the purpose of an appearance in connection with a court proceeding.

12 [18 U.S.C. § 3142(1)]
13
      Dated: August 23, 2022
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15                                                        /s/
                                                    HON. ALKA SAGAR
16
                                             UNITED STATES MAGISTRATE JUDGE
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